                                 June 22, 2006
                Letter From Dr. Evertsz (Pfizer) to Dr. Katz (FDA)




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                                                                                                    4133 Pfizer MEvertsz 0125704
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                                   February 27, 2003
                          Neurological Surgeons Questionnaire




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                                                                                                     Source: 000006-1PRD-00165

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                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                            Spoke w[ith] p[atien]t’s
                                                            daughter. States p[atien]t wishes
                                                            he could die because of pain and
                                                            depression. Advised to take
                                                            p[atient]t to ER for psych. eval
                                                            and tx [treatment].




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                                                                                                     Source: 000006-1PRD-00408

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                                                     May 13, 2004
                                                     Police Report




                                                            Metropolitan Police Department
                                                                         * * *
                                                            On 3-1-04, the victim mentioned
                                                            to his daughter, Cindy Smith,
                                                            that he might take his own life.




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                                                                                                    Source: 000006-96MNP-00010

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                                                March 31, 2004
                                             Dr. McCombs’s Notes


                                                            31 March 04 OV: ... He had been
                                                            seen by his orthopedist who sent
                                                            him to Dr. Mackey who ordered
                                                            a myelogram study. Dr. Mackey
                                                            did not feel that the patient
                                                            needed additional surgery. ... He
                                                            is not a candidate for any type of
                                                            operative intervention. He will
                                                            be treated conservatively.


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                                                                                                    Source: 000006-34NEA-00003

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                          Neurological Surgeons Questionnaire




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                                             February 27, 2003
                                            Dr. Berklacich’s Notes




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                                       March 5, 2003
                           Mrs. Smith Phone Call to Dr. Berklacich




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                                  May 2, 2003
                 Neurosurgical Associates Notes – Dr. McCombs




                                                           Spoke w[ith] p[atien]t’s
                                                           daughter. States p[atien]t wishes
                                                           he could die because of pain and
                                                           depression. Advised to take
                                                           p[atient]t to ER for psych. eval
                                                           and tx [treatment].




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                                                                                                     Source: 000006-1PRD-00408

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                                                 March 9, 2004
                                               Dr. Mackey’s Notes
                                                           The pain has gotten to the point
                                                           that he is getting around in a
                                                           wheelchair.
                                                                           * * *
                                                           I told him that certainly we can
                                                           consider surgery. … His daughter
                                                           raised the concern though about
                                                           whether or not there are some
                                                           other issues going on and we are
                                                           going to go ahead and have him
                                                           evaluated psychiatrically to make
                                                           sure there is not a dementia type
                                                           issue playing into this as well.
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                                                                                                    Source: 000006-32TOA-00007

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                                                March 29, 2004
                                               Dr. Mackey’s Notes



                                                           I again spoke with someone
                                                           from Mr. Smith’s family today.
                                                           ... I told her I would be happy to
                                                           take care of him but we need to
                                                           prevent this doctor shopping of
                                                           going from one doctor to
                                                           another.



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                                                                                                    Source: 000006-32TOA-00006

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                                                March 31, 2004
                                             Dr. McCombs’s Notes


                                                           31 March 04 OV: ... He had been
                                                           seen by his orthopedist who sent
                                                           him to Dr. Mackey who ordered
                                                           a myelogram study. Dr. Mackey
                                                           did not feel that the patient
                                                           needed additional surgery. ... He
                                                           is not a candidate for any type of
                                                           operative intervention. He will
                                                           be treated conservatively.


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                                                 May 5, 2004
                                             Dr. McCombs’s Notes
                                                           P[atien]t called [complaining of]
                                                           pricking/sticking feeling in his
                                                           buttocks and legs.
                                                           He states that he is taking Advil,
                                                           Neurontin, Lortab w[ith] no relief.
                                                           He is having [physical therapy] at
                                                           present but that hasn’t helped so
                                                           far. ESI [Epidural Steroid Injection]
                                                           has been authorized by George
                                                           Schwab but p[atien]t does not want
                                                           to do that now. Will call b[ac]k if he
                                                           decides to take advantage of ESI at
                                                           later date.
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